 

Case 1:20-cv-07143-GBD Document 47 Filed 10/19/20 Pagelof1l _

   

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WHITEBOX RELATIVE VALUE PARTNERS, LP et bape!
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Plaintiffs, : ORDER
-against- 20 Civ. 7143 (GBD)
TRANSOCEAN LTD. et al.,

Defendants.

GEORGE B. DANIELS, United States District Judge:

Oral argument on Defendants’ motion for summary judgment scheduled for October 28,
2020 at 10:30 a.m. will occur in person.

Audio feed of the conference will be accessible by calling 888-363-4749 and entering
access code 4523890.
Dated: New York, New York

October 19, 2020
SO ORDERED.

Vaiae 6. Dow

Cp B. DANIELS
nited States District Judge

 

 
